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                              United States District Court
                             Middle District of Pennsylvania
                                 Harrisburg Division

 The PUBLIC INTEREST LEGAL
 FOUNDATION,

                                               Plaintiff,
    v.

 KATHY BOOCKVAR, in her official
 capacity as Acting Secretary of the                        No. 1:19-cv-00622-CCC
 Commonwealth of Pennsylvania,
 JONATHAN M. MARKS, in his official
 capacity as Deputy Secretary for Elections
 and Commissions, and the BUREAU OF
 COMMISSIONS, ELECTIONS AND
 LEGISLATION,

                                           Defendants.


   Plaintiff Public Interest Legal Foundation’s Statement of Material Facts

         Pursuant to Local Rule 56.1, Plaintiff Public Interest Legal Foundation

(“Foundation”) submits that there is no genuine, material issue to be tried for each

of the following facts:

The NVRA’s Public Disclosure Provision

         1.    The National Voter Registration Act of 1993 (“NVRA”) provides,

         Each State shall maintain for at least 2 years and shall make available
         for public inspection and, where available, photocopying at a
         reasonable cost, all records concerning the implementation of programs
         and activities conducted for the purpose of ensuring the accuracy and
         currency of official lists of eligible voters, except to the extent that such
         records relate to a declination to register to vote or to the identity of a
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      voter registration agency through which any particular voter is
      registered.

52 U.S.C. § 20507(i)(1) (hereafter, the “Public Disclosure Provision”).

      2.     Defendant Secretary of State Boockvar (“Secretary”) is required to

comply with the NVRA’s Public Disclosure Provision. Deposition Transcript of

Jonathan M. Marks at 36:3-37:19, 38:10-23 (attached as Exhibit A).

The Foundation

      3.     The Foundation is a non-partisan, public interest organization

headquartered in Indianapolis, Indiana. The Foundation promotes the integrity of

elections nationwide as part of its mission. The Foundation does this, in part, by

using state and federal open records laws (e.g., the Public Disclosure Provision) to

study and analyze the voter list maintenance activities of state of local

governments. Where necessary, the Foundation also takes legal action to compel

compliance with state and federal voter list maintenance laws. The Foundation has

dedicated significant time and resources to ensure that voter rolls in the

Commonwealth of Pennsylvania, and other jurisdictions throughout the United

States, are free from ineligible registrants, including deceased individuals, foreign

nationals, individuals who are no longer residents, and individuals who are

simultaneously registered in more than one jurisdiction. The Foundation has filed

multiple lawsuits in the Commonwealth of Pennsylvania in furtherance of its

election integrity goals. See, e.g., Public Interest Legal Foundation v. Boockvar,
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Civ. No. 1:20-cv-1905 (M.D. Pa.) and Public Interest Legal Foundation v. Voye,

Civ. No. 2:20-cv-00279 (W.D. Pa.). Affidavit of Logan Churchwell (“Churchwell

Aff.”) ¶ 3.

      4.      Defendant Secretary of State for the Commonwealth of Pennsylvania

(the “Secretary”) is the Commonwealth’s Chief Election Official and the head of

the Pennsylvania Department of State (the “Department”). See 71 Pa. Stat. Ann. §

271. The Department, under the Secretary’s supervision, is charged with the

administration of Pennsylvania’s elections, e.g., 71 Pa. Stat. Ann. § 273; 25 Pa.

Stat. Ann. § 2621, and voter registration and list maintenance, 25 Pa.C.S. § 1108;

25 Pa.C.S. § 1201, including the NVRA, e.g., Exhibit A at 36:3-37:19, 38:10-23.

      5.      Defendant Jonathan Marks is the Deputy Secretary for Elections and

Commissions at the Pennsylvania Department of State. Exhibit A at 18:16-18.

Defendant Marks oversees the day-to-day operations of the Bureau of Elections

and Notaries, the Bureau of Elections, Security and Technology, and the Bureau of

Campaign Finance and Civic Engagement. Id. at 20:10-17. Under his supervision,

the Bureau of Elections, Security and Technology administers the day-to-day

operations of the Statewide Uniform Registry of Electors (“SURE”) system and

provides support to county officials related to the SURE system. Id. at 21:10-22:1.

Commissioner Marks also assists with public records requests related to the SURE

system. Id. at 22:2-11.


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A So-called “Glitch” Allows Noncitizen to Register to Vote

      6.     In 2017 or earlier, 1 the Department learned that non-United States

citizens had registered to vote at Pennsylvania Department of Motor Vehicle

(“PennDOT”) offices for the last several decades (hereafter, the “PennDOT glitch”

or “glitch”). Exhibit A at 112:24-116:1; Written Testimony of Jonathan Marks

(attached as Exhibit B) (see also Exhibit A at 112:24-113:12); Written Testimony

of Robert Torres (attached as Exhibit C); Statement – Voter Registration &

Election Integrity (attached as Exhibit D) (see also Exhibit A at 188:2-19); Motor

Voter, Unlawful Voting and Cyber Security: Joint Hearing before the Senate State

Government Committee and the Senate Transportation Committee, Dec. 12, 2017,

Testimony of Acting Secretary Torres at 30:15-30:38, video available at

http://stategovernment.pasenategop.com/121217/; Presentation on Noncitizens

Registered to Vote in Pennsylvania (attached as Exhibit E) at PILF-01077 (“Well,

it’s true that this has actually been an issue since the beginning of Motor Voter

going back 20 years across multiple administrations.”); Exhibit D at 1 (explaining

that “the Department of State became aware in 2017 that a decades-old issue with




1
  Documents and testimony elicited in discovery show that the Department was
likely aware of this problem as early as 2015. See Exhibit A at 115:14-116:7. The
exact date the Department became aware is not a material fact for purposes of the
Foundation’s motion for summary judgment.

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the PennDOT motor-voter system had allowed ineligible individuals to

inadvertently register to vote”).

      7.     The Department has acknowledged the PennDOT glitch publicly and

privately on numerous occasions, including in testimony before Pennsylvania’s

General Assembly. See, e.g., Defendant Kathy Boockvar’s Response to Plaintiff’s

Request for Admission No. 8 (attached as Exhibit F); Defendants’ Production

D02296-2299 at D02296 (attached as Exhibit G) (explaining, “For decades, a small

number of legal Pennsylvania residents have registered to vote and then later

cancelled their voter registrations because they were not citizens of the United

States”); Exhibit B; Exhibit C; see also Pub. Interest Legal Found. v. Boockvar,

431 F. Supp. 3d 553, 561 (M.D. Pa. 2019) (“The Commonwealth has admitted as

much in public comments regarding the ongoing investigations and has described

at length the rigorous and targeted analysis of voter-registration data and driver's

license data that produced the requested records.”).

Pre-litigation Correspondence and NVRA Violation Notice

      8.     On or around October 23, 2017, the Foundation sent to Defendant

Marks and Defendant Marks received the letter filed in this case as Docket Entry

1-9 (hereafter, the “Request Letter”). Churchwell Aff. ¶ 5; Exhibit A at 25:12-15.




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      9.      Pursuant to NVRA’s Public Disclosure Provision, the Foundation’s

Request Letter sought to inspect or receive the following four (4) categories of

records, as outlined in its request:

      (1) Documents regarding all registrants who were identified as potentially
         not satisfying the citizenship requirements for registration from any
         official information source, including information obtained from the
         various agencies within the U.S. Department of Homeland Security and
         the Pennsylvania Department of Transportation since January 1, 2006.
         This request extends to all documents that provide the name of the
         registrant, the voting history of such registrant, the nature and content of
         any notice sent to the registrant, including the date of the notice, the
         response (if any) of the registrant, and actions taken regarding the
         registrant’s registration (if any) and the date of the action. This request
         extends to electronic records capable of compilation.
           a. This request includes all voter records that were referenced in recent
              news media reports regarding individuals improperly exposed to
              registration prompts due to a “glitch” in PennDOT’s Motor Voter
              compliance system. At least one news report claims that “a
              Pennsylvania Department of State review is underway.”2 [The
              Foundation] seek[s] all voter records contained in this review.
      (2) All documents and records of communication received or maintained by
          your office from registered voters, legal counsel, claimed relatives, or
          other agents since January 1, 2006 requesting a removal or cancellation
          from the voter roll for any reason related to non-U.S.
          citizenship/ineligibility. Please include any official records indicating
          maintenance actions undertaken thereafter.
      (3) All documents and records of communication received or maintained by
          your office from jury selection officials—state and federal--since January
          1, 2006 referencing individuals who claimed to be non-U.S. citizens
          when attempting to avoid serving a duty call. This request seeks copies of

2
 The Philadelphia Inquirer; Glitch let ineligible immigrants vote in Philly
elections, officials say (September 20, 2017),
http://www.philly.com/philly/news/politics/city/philly-voter-fraud-trump-
immigrants-registration-commissioners-penndot-20170920.html.

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            the official referrals and documents indicating where your office or local
            registrars matched a claim of noncitizenship to an existing registered
            voter and extends to the communications and maintenance actions taken
            as a result that were memorialized in any written form.
      (4) All communications regarding list maintenance activities relating to #1
          through 3 above to appropriate local prosecutors, Pennsylvania Attorney
          General, Pennsylvania State Police, any other state law enforcement
          agencies, the United States Attorney’s office, or the Federal Bureau of
          Investigation.

Doc. 1-9 at 1-2.

      10.      The Department did not produce any of the Requested Records in

response to the Request Letter. Exhibit A at 25:23-25.

      11.      On October 25, 2017, the Foundation’s representative visited the

Department’s Bureau of Commissions, Elections and Legislation to inspect the

Requested Records. Churchwell Aff. ¶ 8.

      12.      The Department did not permit inspection of the Requested Records

during the Foundation’s October 25, 2017 visit. Churchwell Aff. ¶ 10.

      13.      On or around December 4, 2017, the Foundation sent to Defendant

Marks and Ms. Fuhrman and Defendant Marks and Ms. Fuhrman received the

letter filed in this case as Docket Entry 1-10 (hereafter, the “Follow-up Letter”).

Churchwell Aff. ¶ 11; Exhibit A at 29:1-30:5.

      14.      The Foundation’s Follow-up Letter provided,

      In the interest of efficient and thorough disclosure, I offer the following
      guidelines for the documents I hope are furnished for inspection or, in
      the alternative, are replicated.

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      • With regard to Request 1(a), documents sought would most recently
        include results (full or interim) from an aforementioned official “review”
        of voter data compared against PennDOT’s database of customers to
        identify voters with matching driver profiles containing noncitizen
        designations. Given the public assertions that such actions were
        underway according to news media reports and testimony before the
        Pennsylvania House State Government Committee on October 25, PILF
        reasonably expects that some amount of records would be available for
        inspection as of this writing. This request seeks access to any
        combination of: metadata summaries of the “review’s” findings; detailed
        listings of flagged voters for citizenship eligibility defects; records
        indicating maintenance actions undertaken as a result of the “review”;
        detailed voter profiles for each flagged voter within SURE;
        comprehensive voting histories with political party registration/affiliation
        for the same; and communications/written guidelines for methodology of
        said “review”.
      • Request 2 seeks all available documents per each former voter that self-
        reported their citizenship ineligibility by any method of notification. My
        offer stands to furnish examples of similar records obtained via NVRA
        request from another state. The same examples can be provided for
        Request 3.
      • Request 4 seeks all non-exempt records of communication with law
        enforcement related to Requests 1 – 3.

Doc. 1-10 at 1-2.

      15.   On December 6, 2017, a Foundation representative again visited the

office of the Pennsylvania Department of State’s Bureau of Commissions,

Elections and Legislation to inspect the Requested Records. Churchwell Aff. ¶ 12.

      16.   The Department of State did not permit inspection of the Requested

Records during the Foundation’s December 6, 2017 visit. Churchwell Aff. ¶ 13.




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      17.    On or around December 20, 2017, the Department denied the

Foundation’s Records Request in a letter to the Foundation. Churchwell Aff. ¶ 14;

Doc. 1-11.

      18.    On or around March 20, 2019, the Foundation served Defendant

Boockvar, Pennsylvania’s Chief Election Official, with written notice of the

NVRA violations alleged in this action (hereafter, the “NVRA Notice Letter”).

Churchwell Aff. ¶ 16. See Docs. 1-15 – 1-16.

      19.    On March 20, 2019, Mr. Gates acknowledged receipt of the NVRA

Notice Letter on the Defendants’ behalf and confirmed that he provided the NVRA

Notice Letter to Defendants Boockvar and Marks. Mr. Gates stated the following

in his email: “Thank you for sending the attached notice of violations of the NVRA

to my attention today. I have this day, March 20, 2019 provided the attached notice

to my clients Kathryn Boockvar and Jonathan Marks.” Churchwell Aff. ¶ 17; Doc.

1-17; Exhibit F at RFA No. 7 (“It is admitted only that Secretary Boockvar

received the letter dated March 1, 2019”).

      20.    The Foundation has complied with the NVRA’s pre-litigation notice

requirements, 52 U.S.C. § 20510(b). See Pub. Interest Legal Found. v. Boockvar,

431 F. Supp. 3d at 557 (“PILF commenced this action after satisfying the NVRA’s

notice requirements.”)




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      21.    On or around April 9, 2019, in a letter to the Foundation, the

Department of State reaffirmed its denial of the Foundation’s Records Request.

Churchwell Aff. ¶ 18; Doc. 1-18.

      22.    The Secretary did not cure her violation of the NVRA in the time

afforded by the NVRA. Churchwell Aff. ¶ 21.

The Statewide Uniform Registry of Electors (SURE) System

      23.    The SURE system is a “single, uniform integrated computer system”

that “[c]ontain[s] a database of all registered electors in this Commonwealth.” 25

Pa.C.S. § 1222(c), (c)(1); see also Exhibit A at 48:15-17 (explaining that “the

Statewide Uniform Registry Of Electors is essentially each county’s official voter

registry”). See also Exhibit A at 52:12-53:1.

      24.    The SURE system is used to conduct maintenance of the

Commonwealth’s voter registration records, see 25 Pa.C.S. § 1222(c)(4), (7), (9),

(11)-(12); Exhibit A at 52:12-53:1, 55:21-56:1, including adding new voter

registration records, id. at 58:13-16, canceling voter registration records, id. at

58:17-19, and updating voter registration records, id. at 62:20-63:4 (“Each, each,

each voter record has a, a log that shows changes that are made to the voter’s

record over time.”).

      25.    The Department of State has “instant access to a commission’s

registration records maintained on the [SURE] system.” 25 Pa.C.S. § 1222(c)(5);


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see also Exhibit A at 55:10-14, 49:11-16 (“The data that’s contained in the SURE

system, the Department can access that, that data.”); see also id. at 67:24-25.

      26.    The SURE system contains voting history. Exhibit A at 62:17-19.

      27.    The SURE system records the fact that a voter registration record was

canceled and the reason the record was canceled. Exhibit A at 63:17-21, 64:20-23.

      28.    A voter registration record will be cancelled in the SURE system if

election officials determine that the registrant was not a United States citizen.

Exhibit A at 64:13-65:6.

      29.    Each registration record in the SURE system contains a field named

“Status Reason.” Exhibit A at 66:23-67:25 (explaining that Docket Entry 1-6

includes is a “screen shot” of a voter record from the SURE system).

      30.    The “Status Reason” field identifies and reflects the status of the voter

registration record, including whether a record was cancelled and the reason the

record was cancelled. Exhibit A at 69:14-70:4.

      31.    When a voter registration record is cancelled because the registrant is

not a United States citizen, election officials enter “Cancel – Not a Citizen” in the

record’s “Status Reason.” Exhibit A at 69:14-70:8; see also id. at 70:22-25.

      32.    Each voter registration record in the SURE system contains “tabs” or

pages, showing and/or containing, inter alia, the registrant’s voting history, Exhibit

A at 103:9-104:9, 105:25-106:1, data and information about correspondence sent


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to the registrant and received from the registrant, id. at 106:25-107:22, a log of

changes made to the record over time, id. at 109:3-17, documents uploaded to the

SURE system that are relevant to the registrant, id. at 109:18-110:8, and

information or notations about applications submitted by the registrant, including

the initial application and a change application, id. at 110:9-111:6.

      33.    A portion of Philadelphia’s voter registration records in the SURE

system “contain an uploaded image that can be used to verify the non-citizen

cancellation code.” Exhibit G at D02296.

      34.    The SURE system can generate “dozens of reports.” Exhibit A at

72:1-3.

      35.    The SURE system contains a function called “reports menu.” Exhibit

A at 74:11-75:9.

      36.    The SURE system can generate a report called “Voter Listing with

Status,” which shows all voter registration records that were cancelled, over a

specified period of time, for a particular reason, including the reason “Cancel – Not

a Citizen.” Exhibit A at 73:20-74:17, 75:19-76:16, 78:6-79:5; PILF 897 (attached

as Exhibit H).

      37.    The SURE system can generate a report called “Voter Listing with

Date,” which shows all voter registration records that were cancelled, over a

specific period of time, for the reason “Cancel – Not a Citizen” along with the date


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that voting history was last recorded for each registrant. Exhibit A at 79:13-19,

82:9-25.

      38.    The SURE system can generate a report called “Canceled Records by

Types,” which shows the number of voter registration records that were cancelled,

over a specific period of time, for the reason “Cancel – Not a Citizen.” Exhibit A at

89:3-91:6, 93:13-94:11.

      39.    The Department of State can use the SURE system to generate reports

for each Commonwealth county showing all voter registration records cancelled

for the reason “Cancel – Not a Citizen.” Exhibit A at 96:3-25.

List Maintenance Activities Concerning Potential Noncitizens

Pre-“glitch” List Maintenance Records

      40.    The Foundation has received voter list maintenance records

concerning non-United States citizens from officials in the Commonwealth of

Pennsylvania. See Churchwell Aff. ¶¶ 4.

      41.    From Philadelphia County, Pennsylvania, the Foundation received

“Voting Listing with Dates” reports generated by the SURE system showing voter

registration records cancelled for the reason “Cancel – Not a Citizen” for the years

2013, 2014, and 2015, and showing the “Last Voted” date for each cancelled

registrant included on the reports. See Exhibit A at 79:13-84:14 (testimony

discussing reports).


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      42.    Records received from Allegheny County included a “Voter Listing

with Status” Report showing voter registration records cancelled for the reason

“Cancel – Not a Citizen” between 2006 and September 21, 2017. Doc. 1-2 through

1-8; Exhibit H; see also Exhibit A at 73:17-79:2 (testimony discussing report); see

also id. at 78:25-79:2 (“I would agree that, yes, this is a list of voters whose

registration records were canceled for the reason “not a citizen.’”).

      43.    The Department can access voter records in the SURE system, like the

image on page 6 of Docket Entry 1-6. Exhibit A at 66:23-67:25.

      44.    The Department can use the SURE system to generate the reports

produced to the Foundation by Philadelphia and Allegheny Counties. Exhibit A at

92:3-9.

      45.    The Department can generate a report today that shows statistical

data—including the number of voter registration records cancelled for the reason

“Cancel – Not a Citizen.” Exhibit A at 90:14-91:1; see also 96:3-25 (explaining

that the Department of State could run similar reports for all 67 Commonwealth

counties).

      46.    The Department periodically receives letters and reports from federal

district courts showing registered voters who recused themselves from jury duty

because they are not United States citizens. Exhibit A at 229:3-231:4. The

Department of State maintains copies of these letters and reports. Exhibit A at


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231:18-23. The Department of State forwards these letters and reports to county

election officials and “ha[s] a record of those communications.” Id.

The Al Schmidt Analysis

      47.   In July and September 2017, Department officials met with

Philadelphia City Commissioner Al Schmidt to discuss the issue of noncitizens

registering to vote at DMV branch offices. See Exhibit A at 158:2-162:7; see also

Exhibit G at D02298-99 (bullet points for July 18, 2017, September 7, 2017,

September 15, 2017, and September 20, 2017)).

      48.   Commissioner Schmidt shared his research concerning noncitizen

registration with the Department, Exhibit A at 156:9-17, 162:8-21; Email from

Seth Bluestein to Jonathan Marks (attached as Exhibit I) (noting an attachment

entitled “Non-Citizens Data Sheet”).

      49.   Around September 2017, the Department, in collaboration with the

Pennsylvania Department of Transportation, compared voter registration records

with motor vehicle records to determine “the number of records that may have

matched between the voter registration, the SURE database and PennDOT’s motor

vehicle records that had an INS indicator on the motor vehicle record.” Exhibit A

at 169:9-171:19, 172:4-173:8, 177:1-4 (quoted), see also 175:7-16, 176:2-11.

      50.   The Department was “looking for … how many individuals, who may

be the same person” in both databases. Exhibit A at 177:16-20.


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      51.    “[W]hen comparing the records in the two databases, …

approximately 100,000 records appear[ed] to be a match.” Exhibit A at 174:4-8,

see also id. at 176:24-177:4, 177:5-13. See also, 174:2-8.

      52.    The number of matches was “communicated to the Department of

State,” specifically, Mike Moser. Exhibit A at 185:2-8.

      53.    Mr. Moser provided the number of matches to then-Secretary of State

Cortes and Defendant Marks. Exhibit A at 185:9-12.

      54.    Defendant Marks and then-Secretary Cortes provided the number of

matches to Commissioner Schmidt at a subsequent meeting. Exhibit A at 185:13-

19.

The Initial Statewide Analysis

      55.    In September 2017, the Department conducted a statewide analysis of

1,160 voter registration records in the SURE system that were canceled for the

reason “Cancel – Not a Citizen (hereafter, the “Initial Statewide Analysis”).

Exhibit A at 116:8-17, 117:16-18 (“Our analysis, however, looked at the entire

universe of voter records that were canceled for that reason.”), 118:11-17 (1,160

records analyzed), 119:4-25, 125:17-20, 123:3-4 (“it’s 1,160 records that were

canceled for the reason ‘not a citizen’”).

      56.    On October 25, 2017, Defendant Marks appeared before the

Pennsylvania House State Government Committee and provided written testimony


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concerning the Initial Statewide Analysis. Exhibit B; Exhibit A at 112:24-113:12

(discussing and authenticating written testimony).

      57.    Defendant Marks’ written testimony provides a “summary” of the

Initial Analysis, Exhibit A at 118:16-20; Exhibit B at D01180-81.

      58.    The Initial Statewide Analysis included only voter registration records

belonging to registrants who “self-reported and cancelled their registration because

they were not citizens.” Exhibit B at PILF-01180; Exhibit A at 121:14-22

(discussing and authenticating written testimony).

      59.    The Department identified the 1,160 records included in the Initial

Statewide Analysis through a “query of the database” of the SURE system. Exhibit

A at 123:22-124:11; see also D02201-20 (attached as Exhibit J) (report of data

query).

      60.    The database query included voting history for each voter registration

record. Exhibit A at 124:23-125:1; see also Exhibit B.

      61.    Of the 1,160 records analyzed, 248 had recorded on their vote history

at least one vote. Exhibit A at 125:2-16; see also Exhibit B.

The Noncitizen Matching Analysis

      62.    Following the Initial Statewide Analysis, the Department “engaged

with an expert to do an analysis of voter registration records and motor vehicle

records to determine the, the universe of potential individuals that required more --


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had more scrutiny in terms of their, their qualifications specifically related to

citizenship” Exhibit A at 140:21-141:11.

      63.    The Department explained and summarized the analysis in a July

2018 statement prepared by its Communications office entitled “Voter Registration

& Election Integrity” (hereafter, the “Expert Analysis Statement”). Exhibit A at

187:25-188:19 (identifying and authenticating Expert Analysis Statement); Exhibit

D (copy of Expert Analysis Statement).

      64.    The Expert Analysis Statement provides,

      The Department also undertook the following steps to investigate and
      address the concern that some ineligible individuals registered to vote:

   • The Department retained an expert to conduct a full analysis of
     registration data by comparing the voter rolls with other available state
     databases. The initial analysis yielded a responsible list of individuals
     for whom voter registration status required further confirmation.
   • Prior to the May 2018 primary, the department mailed letters to 7,702
     of those registrants whose registration status was active. Because the
     data analysis was ongoing, the immediate goal was to remind the
     individuals of voter eligibility requirements before the primary.
   • Based on further expert analysis, the Department mailed letters to
     11,198 registrants on June 12, including those with active and inactive
     status, asking the recipients to affirm their eligibility to vote or to
     submit a request to cancel their registration.
   • After the responsive affirmations and requests for cancellation were
     taken into account, on June 29 another round of letters with a similar
     message was mailed to those who had not responded.
   • A robocall reiterating the need to respond to the mailing was made to
     registrants for whom there was a telephone number in their voter
     registration record.
   • Additional affirmations and requests to cancel were processed.
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   • On July 26, the Department sent the appropriate counties the
     information on the individuals whose letters were returned as
     undeliverable and the individuals who did not respond to our repeated
     communication efforts. County election offices have been advised to
     handle the registrants according to their normal processes employed to
     verify addresses and confirm eligibility.

Exhibit D at D000215.

      65.    “[V]oter registration records from the SURE system were one element

of data that fed the analysis.” Exhibit A at 149:2-4.

      66.    The 7,702 registrants who received the letter referenced in bullet point

2 of paragraph 64 “required additional scrutiny regarding their qualifications” to

register to vote. Exhibit A at 144:23-145:10.

      67.    The 7,702 registrants who received the letter referenced in bullet point

2 of paragraph 64 were separate from the 1,160 voter registration records analyzed

in the Initial Statewide Analysis. Exhibit A at 145:11-17.

      68.    The 11,198 registrants referenced in bullet point 3 of paragraph 64

received the letter (hereafter, the “Affirm or Cancel Letter”) D00190-98 (attached

as Exhibit K). See Exhibit A at 210:17-211:2.

      69.    The Department of State kept a list of responses to the Affirm or

Cancel Letter. Exhibit A at 211:3-9.

      70.    Of the recipients of the Affirm or Cancel Letter, 1,915 mailed back

the Letter to the Department of State with an affirmative response indicating they



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were citizens and qualified to be registered. Exhibit A at 212:16-213:1; see Exhibit

D at D000217; Exhibit K at D000190-91 (citizenship affirmation letter).

       71.    The Department of State is currently retaining the affirmative

response letters received from those 1,915 recipients. Exhibit A at 213:15-214:6,

214:24-215:2.

       72.    Of the recipients of the Affirm or Cancel letter, 215 mailed back to

county offices requesting cancellation of their voter registration record. Exhibit A

at 215:14-216:22; see Exhibit D at D000217; Exhibit K at D000195 (cancellation

request letter).

       73.    Of the recipients of the Affirm or Cancel letter, 8,698 either did not

respond or had undeliverable addresses. Exhibit A at 217:18-218:6; see Exhibit D

at D000217.

       74.    The Department of State provided information on those 8,698

recipients to county offices with instructions to “handle the registrants according to

their normal processes employed to verify addresses and confirm eligibility.”

Exhibit D at D000215; see also Exhibit A at 218:7-19.




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Dated: May 3, 2021.

Respectfully submitted,

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                              Certificate of Service

      I hereby certify that on May 3, 2021, I electronically filed the foregoing

using the Court’s ECF system, which will serve notice on all parties.



                                             /s/ Kaylan L. Phillips
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